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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
In the Matter of the Search of : Mag. No. 18-5528 (KMW)
Residence at 1033 West Browning Avenue, :
Bellmawr, New Jersey : UNSEALING ORDER

This matter having come before the Court upon the application of the United
States of America, by Craig Carpenito, United States Attorney (Diana Vondra Carrig and
Christina O. Hud, Assistant United States Attorneys, appearing) for an order unsealing the
affidavit, application in support of the search warrant, the resulting search warrant, and all
related documents filed in the above-captioned matter, and good cause having been shown,

IT IS on this diay of August, 2018,

ORDERED that all papers related to the above-captioned matter, including the

application, affidavit, and search warrant are hereby unsealed.

Bs Secssesen

HONORABLE KAREN M., WILLIAMS
United States Magistrate Judge
